                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

                                            No. 5:14-CV-896-FL


    MADAY LIMA,                    )
                                   )
                 Plaintiff,        )
                                   )
        v.                         )
                                   )                                              ORDER
    MH & WH, LLC; HALLE BUILDING )
    GROUP; WENDY A. HOWINGTON; and )
    MICHAEL J. HOWINGTON           )
                                   )
                 Defendants.       )


        This matter is before the court on plaintiff’s motion for reconsideration, pursuant to Federal

Rule of Civil Procedure 59(e), (DE 161), of part of the court’s March 8, 2019, order regarding the

parties’ summary judgment motions. Defendants jointly responded in opposition, and plaintiff

replied. In this posture the issues raised are ripe for ruling. For the following reasons, plaintiff’s

motion is denied.1

                                              BACKGROUND

        A detailed background of this case is set forth in the court’s March 8, 2019, order. As

pertinent herein, in that order, the court allowed multiple claims to proceed to trial, comprising the

following:

        1)       Fair Labor Standards Act (FLSA) claim for failure to pay proper overtime wages, in

                 violation of 29 U.S.C. § 207, against all defendants (Count One).




1
        Also pending before the court is plaintiff’s consent motion for leave to file second amended complaint (DE
172), which will be addressed by separate order.



             Case 5:14-cv-00896-FL Document 173 Filed 05/30/19 Page 1 of 6
         2)        North Carolina Wage and Hour Act (NCWHA) claim for failure to pay all owned,

                   earned, and promised wages, in violation of N.C. Gen. Stat. § 95-25.6, against all

                   defendants, except for a portion of the claim, which is the subject of the instant

                   motion, wherein plaintiff seeks overtime pay (Count Two).

         3)        Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

                   (Title VII) claim for sex discrimination, hostile work environment, constructive

                   discharge, and retaliation, against defendants MH & WH, LLC, and Halle Building

                   Group (“HBG”) (Count Three).

         4)        Assault, battery, and intentional infliction of emotional distress claims based upon

                   vicarious liability against defendants MH & WH, LLC, and HBG for actions of

                   former defendant Stanley (Counts Four, Five, and Six).

         5)        Negligent supervision against defendants MH & WH, LLC, and HBG (Count Seven).

         The court granted summary judgment in part in favor of defendants MH & WH, LLC, and

HBG, on only that portion of the claim brought by plaintiff under the NCWHA seeking overtime

pay, and on one other portion of plaintiff’s claims for damages not at issue herein.2

         In the instant motion, plaintiff seeks reconsideration of the court’s partial grant of summary

judgment on that portion of the claim brought by plaintiff under the NCWHA seeking overtime pay.




2
  In particular, the court dismissed in part plaintiff’s claims for damages for loss of physical control, post traumatic stress
disorder, paralysis, continuing physical pain, and significant medical expenses, for her Title VII and common law claims.
The court also granted summary judgment in favor of plaintiff on those parts of her FLSA and NCWHA claims raising
the issue of whether defendants HBG and MH & WH were joint employers for purposes of FLSA and NCWHA liability.

                                                              2



              Case 5:14-cv-00896-FL Document 173 Filed 05/30/19 Page 2 of 6
                                     COURT’S DISCUSSION

A.      Standard of Review

        Federal Rule of Civil Procedure 59(e) allows a party to file a motion to alter or amend a

judgment no later than 28 days after its entry. “[T]here are three grounds for amending an earlier

judgment: (1) to accommodate an intervening change in controlling law; (2) to account for new

evidence not available at trial; or (3) to correct a clear error of law or prevent manifest injustice.”

Pac. Ins. Co. v. Am. Nat. Fire Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998).

B.      Analysis

        As noted above, in its March 8, 2019, order, the court allowed plaintiff to proceed with her

NCWHA “payday” claim for failure to pay all owned, earned, and promised wages, in violation of

N.C. Gen. Stat. § 95-25.6, except for a portion of the claim subject of the instant motion. In

particular, the court dismissed that portion of plaintiff’s NCWHA claim in which plaintiff seeks

overtime pay, on the basis that it is “exempted” based upon another provision of the NCWHA, N.C.

Gen. Stat. § 95-25.14(a). (Order (DE 160) at 30).

        Plaintiff argues that this court’s determination was incorrect in light of Anderson v. Sara Lee

Corp., 508 F.3d 181, 191 (4th Cir. 2007), and a “plethora of authority finding that payday claims for

all unpaid wages are not preempted by the FLSA.” (Pl’s Mot. (DE 161) at 8). Plaintiff’s argument

fails, in multiple respects, to establish a clear error of law or manifest injustice.

        As an initial matter, the court’s determination on summary judgment to dismiss part of

plaintiff’s NCWHA claim was not based upon preemption by the FLSA. It was based, rather, upon

the statutory exemption in the NCWHA, § 95-25.14(a), and the court’s interpretation of the plain

language of the NCWHA. (See Order (DE 160) at 27-30). Plaintiff does not cite any binding


                                                   3



          Case 5:14-cv-00896-FL Document 173 Filed 05/30/19 Page 3 of 6
authority interpreting the statutory exemption in the NCWHA, § 95-25.14(a). Where the court’s

holding turns on an unsettled question of interpretation of North Carolina law, on this basis alone,

plaintiff fails to meet the standard for reconsideration under Rule 59(e).

       Second, Anderson is inapposite. In Anderson, the United States Court of Appeals for the

Fourth Circuit held that state law claims for contract, negligence, and fraud were “preempted by the

FLSA.” Anderson, 508 F.3d at 195. Plaintiff cites Anderson for the proposition, stated in dicta, that

the FLSA “expressly allows states to provide workers with more beneficial minimum wages and

maximum workweeks than those mandated by the FLSA itself,” including “more stringent overtime

provisions than the FLSA.” Id. at 193. But, Anderson does not address the NCWHA overtime

exemption, much less the interaction between the NCWHA overtime exemption under § 95-25.14(a)

and a “payday” claim under N.C. Gen. Stat. § 95-25.6. See id.

       As noted in the court’s March 8, 2019, order, § 95-25.14(a) expressly exempts overtime

claims for plaintiffs employed by employers covered under the FLSA. (Order (DE 160) at 27-30).

The court’s analysis turned on the interaction between that exemption and the language of the statute

permitting “payday” claims under N.C. Gen. Stat. § 95-25.6. (Id.). Notably, Anderson does not even

mention the NCWHA, much less § 95-25.14(a) and § 95-25.6.          See 508 F.3d at 182-195.

       Third, the “plethora of authority” cited by plaintiff is inconclusive on the issue addressed by

the court in dismissing the overtime part of plaintiff’s NCWHA claim. Plaintiff cites, for example,

Martinez-Hernandez v. Butterball, LLC, 578 F. Supp. 2d 816, 818 (E.D.N.C. 2008). There, the

court held that “[b]ecause the first and third claims [for failure to pay wages when due at their

regular hourly rate and at one and one-half their regular hourly rate] are separate and distinct from

plaintiffs’ FLSA claims, they invoke neither the minimum wage nor the overtime provisions of the


                                                 4



          Case 5:14-cv-00896-FL Document 173 Filed 05/30/19 Page 4 of 6
FLSA. As such, they are not preempted by the FLSA.” Id. at 820 (emphasis added). This holding,

which is based upon the FLSA preemption analysis in Anderson, does not address the NCWHA

exemption in § 95-25.14(a), and the court undertook no analysis of the interaction between the

“payday” provision in § 95-25.6 and the overtime exemption in § 95-25.14(a). See id.3

         Finally, two other district courts since Martinez-Hernandez that have addressed the NCWHA

statutory interpretation question in detail, like this court in its March 8, 2019, summary judgment

order, have held that “payday” claims seeking overtime pay are exempted under the NCWHA. As

noted in the March 8, 2019, order, the court in DeHoll v. Eckerd Corp., No. 1:18CV280, 2018 WL

5624150, at *5 (M.D.N.C. Oct. 30, 2018), held that “allowing Plaintiffs to recover unpaid overtime

under the payday statute would be wholly incompatible with the exemption provision.”4 Similarly,

the court in Rindfleisch v. Gentiva Health Servs., Inc., No. 1:10-CV-03288-SCJ, 2013 WL

12106934, at *3–4 (N.D. Ga. Jan. 16, 2013), following detailed discussion of North Carolina case

law and statutory provisions, held that “allowing Plaintiffs to recover overtime wages under the

NCWHA simply because they seek said wages under the payday statute as opposed to the overtime

statute would be wholly incompatible with the NCWHA’s exemption provision.” Id. at * 4 (internal

quotations omitted).



3
          Plaintiff also cites to this court’s recent order in Prescott v. MorGreen Solar Sols., LLC, No. 5:17-CV-365-FL,
2019 WL 1428687, at *9 (E.D.N.C. Mar. 29, 2019), where the court quoted the statutory text of the NCWHA, N.C. Gen.
Stat. § 95-25.22. That statutory text, however, is inconclusive on the issue presented in the instant case. Indeed, it sets
forth separately damages “in the amount of [a plaintiff’s] unpaid minimum wages, their unpaid overtime compensation,
or their unpaid amounts due under G.S. 95-25.6 through 95-25.12, as the case may be.” N.C. Gen. Stat. § 95-25.22
(emphasis added).
4
          Plaintiff seeks to distinguish DeHoll on the basis that the court there held that the plaintiff had failed to plead
with specificity a claim for “accrued wages that should have been paid to him.” 2018 WL 5624150 at * 5. In the instant
case, however, plaintiff cites to her own pleading of her “payday” claim, which merely tracks the statutory language:
“[I]t is unlawful for an employer to ‘suffer or permit’ an employee to work without paying all owed, earned, and
promised wages, on the employee’s regular payday.” (Pl’s Mot. (DE 161) at 7 (quoting Am. Compl. ¶ 72)).

                                                             5



            Case 5:14-cv-00896-FL Document 173 Filed 05/30/19 Page 5 of 6
       In sum, plaintiff fails to establish a clear error of law or manifest injustice in dismissing part

of plaintiff’s NCWHA claim. Therefore, plaintiff’s motion for reconsideration must be denied.

                                          CONCLUSION

       For the foregoing reasons, plaintiff’s motion for reconsideration (DE 161) is DENIED.

       SO ORDERED, this the 30th day of May, 2019.




                                               _____________________________
                                               LOUISE W. FLANAGAN
                                               United States District Judge




                                                   6



         Case 5:14-cv-00896-FL Document 173 Filed 05/30/19 Page 6 of 6
